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, To whom it may Concern,

I am writing in regards to my wife Julie Wheeler and here current sentencing on federal charges in
hopes that my letter will help show and explain who my wife is as a person and a mother.
Julie has always been the rock my sons and I have leaned on when we needed support through good
times and bad. She has put not only her own family but multiple members of my families needs ahead
of her own. She was the primary caretaker for almost 10 years of her mother but also assisted me in ,
taking care of my elderly mother and father my mother had health issues and my father had Alzheimer.
Julie is a caring loving person who although made a bad decision that has ultimately lead to her current
situation has never been in any type of trouble in the past 44 years nor been anything other than an
upstanding and respected member of the community. She volunteered her time to help our sons youth
soccer organization whenever needed as well as was a strong advocate for the Children Miracle
Network charity. We as a family were the 2004 Southern West Virginia March of Dimes ambassador
family.
On a personal level a large part of my sons and my life is missing. We as a whole rely on her for many
things that words cannot convey.        and       have struggled with this situation and miss their
mother deeply. I have lost my soulmate and best friend. Without Julie our family is incomplete.
1 implore on you to consider alternative sentencing for her and respectfully ask that she be given home
confinement so that we can be a family again.

Thank you,




Rod Wheeler
